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                                                                 FILED: October 17, 2019

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                           No. 19-2077
                                      (1:13-cr-00435-TDS-1)
                                      ___________________

        In re: BRIAN DAVID HILL

                     Petitioner

                                      ___________________

                                           ORDER
                                      ___________________

              Upon consideration of the motion to voluntarily dismiss this case pursuant to

        Rule 42(b) of the Federal Rules of Appellate Procedure, the court grants the motion.

                                              For the Court--By Direction

                                              /s/ Patricia S. Connor, Clerk




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